               UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN

 LINDA REED,

                           Plaintiff,
 v.                                                 Case No. 14-CV-330-JPS

 COLUMBIA ST. MARY’S HOSPITAL,

                                                                   ORDER
                           Defendant.


1.     INTRODUCTION

       Plaintiff Linda Reed (“Reed”) suffers from several disabilities,

including tardive dyskinesia (“TD”) and bipolar disorder. Her TD makes it

difficult for her to speak, so she often uses a computer-based communication

device. In March 2012, she sought treatment at Defendant Columbia St.

Mary’s Hospital (“Columbia”) because she was feeling suicidal. In this

lawsuit, she asserts that during her four-day stay, Columbia staff

discriminated against her on the basis of her disabilities and refused to make

adequate accommodations for her impairments.

       She brings claims for violations of Title III of the Americans with

Disabilities Act (“ADA”), 42 U.S.C. § 12181, and Section 504 of the

Rehabilitation Act, 29 U.S.C. § 794. She also asserts several claims arising

under the Wisconsin Mental Health Act, Wis. Stat. § 51.61, for violations of

her rights as a medical patient. Columbia filed a motion for summary

judgment on October 14, 2016. (Docket #49). Columbia seeks dismissal of all

of Reed’s federal claims. First, it argues that it enjoys a religious exemption

from liability under the ADA. Second, it asserts that there is inadequate

evidence to show that it discriminated against Reed solely based on her


 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 1 of 32 Document 60
disabilities, as is required to sustain a claim under the Rehabilitation Act.

Finally, Columbia requests that the Court decline to exercise supplemental

jurisdiction over the remaining state-law claims. Reed opposed Columbia’s

motion and filed a motion to strike Columbia’s religious exemption defense,

contending that it had not been timely asserted. (Docket #54 and #55).1 The

parties’ motions are fully briefed and, for the reasons stated below, the Court

must grant Columbia’s motion and dismiss this action.

2.     STANDARD OF REVIEW

       Federal Rule of Civil Procedure 56 provides that the court “shall grant
summary judgment if the movant shows that there is no genuine dispute as

to any material fact and the movant is entitled to judgment as a matter of

law.” Fed. R. Civ. P. 56(a); see Boss v. Castro, 816 F.3d 910, 916 (7th Cir. 2016).

A fact is “material” if it “might affect the outcome of the suit” under the

applicable substantive law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

(1986). A dispute of fact is “genuine” if “the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.” Id. The court

construes all facts and reasonable inferences in the light most favorable to the

non-movant. Bridge v. New Holland Logansport, Inc., 815 F.3d 356, 360 (7th Cir.



       1
        Reed also filed a motion to strike the entirety of Columbia’s motion for
summary judgment on the ground that it did not state with particularity the relief
sought, in violation of Federal Rule of Civil Procedure 7(b). (Docket #51); Fed. R.
Civ. P. 7(b). Reed does not explain precisely what is deficient in Columbia’s
motion, and the Court finds no ambiguity in Columbia’s request that her suit be
dismissed. Perhaps Reed is complaining about Columbia’s decision not to file a
motion separate from its memorandum in support? She does not say, and the
Court does not view that decision as a violation of Rule 7(b). See Talano v.
Northwestern Med. Faculty Found., Inc., 273 F.3d 757, 761 (7th Cir. 2001) (finding that
vague allegations of error violate Rule 7(b)’s particularity requirement). Moreover,
the sanction she requests is extreme in comparison to the alleged violation. Thus,
the Court will deny Reed’s motion.

                                    Page 2 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 2 of 32 Document 60
2016). The court must not weigh the evidence presented or determine

credibility of witnesses; the Seventh Circuit instructs that “we leave those

tasks to factfinders.” Berry v. Chicago Transit Auth., 618 F.3d 688, 691 (7th Cir.

2010). The party opposing summary judgment “need not match the movant

witness for witness, nor persuade the court that [her] case is convincing, [she]

need only come forward with appropriate evidence demonstrating that there

is a pending dispute of material fact.” Waldridge v. American Hoechst Corp., 24

F.3d 918, 921 (7th Cir. 1994).

3.     RELEVANT FACTS
       3.1    Reed’s Treatment at Columbia

       Reed suffers from TD, bipolar disorder, post-traumatic stress disorder,

and acute anxiety. (Docket #55 ¶ 11). TD is a neurological disorder that

substantially limits a person’s ability to speak and swallow due to

uncontrollable, involuntary movements in the mouth, limbs, and hands. To

cope with the disease, Reed uses various communication techniques and aids,

including a computer-based communication device called a Dynavox. See

(Docket #37 ¶ 9).

       Reed entered the Columbia emergency department in mid-afternoon

on Thursday, March 8, 2012, reporting suicidal thoughts. (Docket #55 ¶ 11).

She was admitted for treatment to Columbia’s inpatient behavioral health

unit. Id. She remained there until her discharge on the morning of Monday,

March 12, 2012. Id. ¶ 12; see also (Docket #59 ¶ 36).

       While being treated at Columbia, Reed claims she was subjected to

discrimination because of her disabilities. First, Columbia staff would

repeatedly refuse to give her the Dynavox when she asked for it, including

during her discharge meeting on March 12, 2012. (Docket #37 ¶ 13); (Docket



                                  Page 3 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 3 of 32 Document 60
#55 ¶¶ 17, 24). (The Dynavox was held at the nurse’s station at night in order

to recharge its batteries.)

       Second, she says she was prescribed psychotropic medication despite

telling Columbia staff that she is allergic to it. (Docket #37 ¶ 14). She refused

to take it when offered. Id. At times, she asked to see her medication records

so she could determine whether she was being given any such medications,

but these requests were refused. Id. ¶¶ 14, 23; (Docket #55 ¶ 13). Third, she

was repeatedly denied use of the telephone to call her “case manager.”

(Docket #37 ¶ 21). Fourth, she was denied access to the hospital chaplain.
(Docket #55 ¶ 22). Finally, she was escorted off the hospital grounds by two

security guards after the March 12 discharge meeting. Id. In her original

complaint, she claimed that the guards injured her, but the amended

complaint omits such allegations. See id.; see also (Docket #55-26 at 3–5).

       The record reveals that Reed’s stay at Columbia was fraught with

difficulty and punctuated by confrontations between her and the staff. See

(Docket #55-11 at 21) (examination note stating that Reed was discharged for

“behavior issues” and was “sent away by staff”). At the intake interview on

March 8, 2012 with psychiatrist Dr. Eric Kaplan (“Dr. Kaplan”), she was
“angry and agitated” and in a “manic state”—so much so that Dr. Kaplan

had to leave the intake interview and another doctor completed it later. See

id. at 46, 83–84. It was also noted by a nurse that at intake, Reed

communicated in “explosive verbal volleys” along with using her Dynavox.

Id. at 100.

       Additionally, throughout her stay, Reed refused some of Columbia’s

treatment recommendations, including certain medications on her stated fear

that she was allergic to them. (Docket #55-22 at 2 ¶ 3); (Docket #55 ¶ 75);

(Docket #55-11 at 24) (progress note that Reed was “all over the map, refuses

                                 Page 4 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 4 of 32 Document 60
to take any psych meds”); see also (Docket #55-13 at 30–31) (May 30, 2013 note

from Dr. Kathryn Gaines, who treated Reed for over a decade, that Reed

visited her in a disturbed stated and refused to take her medication).

Although Reed claims that she was prescribed psychotropic drugs at

Columbia after warning the staff of her allergy, there is no evidence that she

was ever administered such medications, only that she was concerned about

the possibility. (Docket #55 ¶ 76); (Docket #59 ¶¶ 75–76); but see (Docket #55-

11 at 17) (March 8, 2012 note showing order for psychotropic medications).

In any event, she claims she refused all such medications when they were
offered to her. (Docket #59 ¶ 75); (Docket #55-11 at 34). Similarly, while she

asserts that she was not allowed to see her medication records, (Docket #59

¶ 77), Donna Taylor, Director of Risk Management at Columbia, later

explained to her that this was due to Columbia policy, which provides that

a patient can review her records after discharge, (Docket #55-22 at 1). The

right to review records is not, as Reed believed, an unfettered right to see all

such records immediately upon request. See id.

       Further, she was often disruptive, loud, agitated, and could not easily

be understood in her speech as a result of her TD. See (Docket #55-11 at 34)

(Reed describing her disabilities as “noisy”); id. at 35 (Reed writing that on

one occasion, she became “spooked” and “los[t] control over [her] disorder”);

id. at 42 (progress note that Reed exhibited bipolar disorder with “severe

mania”); id. at 85 (progress note that Reed became “distraught” in the

afternoon on March 10 and was “unable to speak”); id. at 86 (progress note

that Reed’s mood was “up and down all shift” late on March 11). Her

behavior was so hard to control that the nursing supervisor, William Fry

(“Fry”), testified that staff would only provide Reed her Dynavox “if her

behavior was appropriate.” (Docket #55 ¶¶ 62–64); (Docket #59 ¶ 64). There

                                 Page 5 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 5 of 32 Document 60
is also evidence that she became belligerent when counseled about

appropriate behavior during group therapy sessions and while she was being

escorted out of the hospital at discharge. (Docket #55-22 at 3 ¶ 7, 4 ¶ 13);

(Docket #55-11 at 86–87).

       Andrew Miller (“Miller”), a Columbia patient care assistant, witnessed

the incident which is the central feature of this case. (Docket #55 ¶ 38). Early

in the morning on Sunday, March 11, 2012, Miller was seated at the nurse’s

station in the behavioral health unit. Id. Reed approached him and asked for

her Dynavox, which was charging at the nurse’s station. Id. This request was

apparently denied for reasons not explained by the parties. Id. Reed then

walked into the dining room, which faced the nurse’s station, to get a napkin

on which to write Miller a note. Id. Reed contends that the note contained a

request to speak with her case manager, whom she had been trying to contact

for several days. See id. Miller then observed Reed walk out of the dining

room, sit on the ground, and begin to cry. Id. Reed told Miller that she

needed help. Id.

       Miller claims that Reed refused to move although he explained several

times that she needed to return to her room so that the nurses could help her.

Id. ¶¶ 38–45. During this time, she was screaming so loudly that other

patients came out of their rooms to see what the commotion was. Id. He

decided that she was not going to move voluntarily, so he helped her stand.

Id. At this, she screamed at Miller, asking him to stop, but he responded that

she could not stay in the middle of the floor, that she was causing a

disturbance, and that the nurses could help her once she was back inside her

room. Id.

       According to Miller, Reed’s screaming continued at such a volume that

the nurses came out of their morning meeting as he was escorting her to her

                                 Page 6 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 6 of 32 Document 60
room. Id. ¶¶ 46–51. Fry, who was at the meeting, directed Miller to take Reed

to a “seclusion” room instead of her own room. Id. Fry helped Miller walk

Reed to this room, and she did not resist. Id. They then lowered her gently to

the bed on the floor. Id. She remained in the room, which was unlocked and

open, for two hours. Id. Fry claims that Reed was never placed in forced

isolation. Id.

       Reed tells the story differently.2 She claims that after Miller initially

denied her request for her Dynavox, she went to the dining room, wrote a

note about contacting her case manager, and obtained a cup of coffee. Id. ¶¶

38–45. She then returned to the nurse’s station and, as she tried to pass Miller

her note, her TD caused her to spill hot coffee on herself. Id. She fell to the

floor in pain. Id. She admits that Miller then told her “that she could not stay

in the middle of the floor.” Id. ¶ 43. At some point, Miller yelled, “that’s it!”,

grabbed Reed, and took her to an “isolation” room. Id. According to Reed,

Miller threw her on a mattress on the floor of the room and left. Id.; see also

(Docket #59 ¶¶ 42–44). She claims she was “never violent during the entire

incident,” though she never denies that she was on the floor or that she was

crying out during the incident. (Docket #55 ¶ 43); (Docket #55-11 at 30) (Reed


       2
        Reed’s version of events is based almost exclusively on an online
complaint about her experience at Columbia she purportedly filed with the
Wisconsin Department of Health Services in July 2012. (Docket #55-26); (Docket #59
¶ 1). Defendant disputes the foundation for the document, claiming it was never
produced in discovery despite being responsive to its requests for production.
(Docket #59 ¶ 1). Defendant requests that the document not be considered here.
(Docket #56 at 5–6). The Court notes that the online complaint is not sworn.
However, Reed incorporated the document by reference into her affidavit she
submitted along with her opposition to Columbia’s motion for summary
judgment. See (Docket #55-25). Because the statements in the online complaint do
not save Reed’s claims, the Court will assume without deciding that the online
complaint has a sufficient foundation and should not be stricken for its prior non-
disclosure.

                                  Page 7 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 7 of 32 Document 60
noting on her discharge form that she had fallen to the floor before Miller

“attacked”); (Docket #59 ¶ 63) (Fry testifying that during the incident “it was

impossible to understand [her] because she was really just screaming and

yelling”); see also (Docket #52 at 22) (stating that Reed “became even more

agitated” after falling to the floor).3 Furthermore, Reed avers that Fry never

participated in the seclusion incident at all. (Docket #55 ¶¶ 46–51). As for the

period of segregation, Reed claims that she did not know or believe that she

was free to leave the room. Id. In fact, she states that “[a] patient care

attendant remained present outside the door” for the entire period,

suggesting that he or she was ensuring that Reed stayed in the room. See

(Docket #59 ¶ 46).

       Fry testified that he chose the seclusion room for Reed to decrease her

stimulation and allow her an opportunity to calm herself down. (Docket #55

¶ 48). Reed asserts that Fry chose the seclusion room as a punitive measure

without first attempting less drastic methods for de-escalating the situation,

which was a violation of Columbia policy. Id. She also argues that Columbia’s

existing policies were insufficient for the situation, claiming that they were

       3
         Reed appears to deny the entirety of Miller’s and Fry’s account of events
in her responses to Columbia’s proposed statements of fact. See (Docket #55 ¶¶
38–50). Yet the 2012 online complaint she submitted, see supra note 2, which in most
cases is the only basis for her denial, does not actually contain express denials of
everything that her opponents say occurred, such as her screaming while she was
on the floor. The online complaint is inadequate to dispute those facts it does not
address. See Johnson v. Shiseki, No. 08–C–471, 2010 WL 1287037, at *2 (E.D. Wis.
Mar. 29, 2010) (“To the extent that an objection to a proposed finding of fact. . .is
non-responsive to the proposed finding of fact, the objection does not create a
dispute of fact.”) (internal citations omitted). Put differently, her online complaint
could be true even though it is incomplete, and the mere fact that it does not
include a particular fact does not establish that the fact is disputed. If Reed had
wanted to specifically deny everything Fry and Miller say happened on March 11,
2012, she could have offered sworn statements to that effect as a supplement to the
statements she made in the online complaint. She elected not to.

                                    Page 8 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 8 of 32 Document 60
threadbare on how to accommodate speech-impaired patients. (Docket #59

¶¶ 49–55).

       The medical record shows that sometime later in the day on March 11,

Reed expressed a desire to leave Columbia. (Docket #55 ¶ 52); (Docket #55-11

at 32–36). Columbia staff counseled her not to go, informing her that she was

at a risk of experiencing worsening psychiatric symptoms and that she was

a danger to herself and others. (Docket #55-11 at 33). On this advice, she

rescinded her notice of intent to leave. Id. at 32; (Docket #55 ¶ 52).

       At the discharge meeting with Dr. Kaplan on the morning of Monday,

March 12, 2012, he noted that although Reed had sought help for suicidal

thoughts, “from the moment she came to the ward, she has been totally

uncooperative.” Id. For instance, as noted above, at the intake interview on

March 8, she “practically kicked [Dr. Kaplan] out.” Id. Similarly, “over the

weekend she signed an intent to leave [form], but then rescinded it.” Id. Dr.

Kaplan observed that there was “no reason to believe that she is acutely

suicidal. At this point, [Reed] is being disruptive to the milieu and I do not

think [she] would benefit from an acute inpatient hospitalization.” Id. Reed

was then discharged from Columbia’s care.
       3.2    Columbia’s Ownership Structure

       Columbia’s complex chain of ownership is relevant to its religious

exemption defense to Reed’s ADA claims, and so the Court must describe it

in some detail. To better illustrate the parties’ competing views on the matter,

the Court will first set out Columbia’s account of that structure, then describe

Reed’s challenges to it.

       On June 30, 2011 the Congregation of Consecrated Life and Societies

of Apostolic Life of the Vatican (the “Congregation”) conferred public juridic



                                 Page 9 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 9 of 32 Document 60
personality on Ascension Health Ministries. Id. ¶ 16.4 Ascension Health

Ministries, in turn, was empowered to “carry out its apostolic works through

various civil entities and primarily through Ascension Health, a Missouri non-

profit corporation.” Id. ¶ 17. The governing documents of Ascension Health

Ministries provide that it would be governed in accordance with canon law

and that its mission would be “to further the healing ministry of Jesus Christ

with special attention to those persons who are poor and vulnerable.” Id. ¶¶

18, 20. To do this, it would serve as “canonical sponsor” of subsidiaries which

would in turn provide healthcare services. Id.

       Ascension Health Ministries is subject to and accountable to the

Congregation. Id. ¶ 19. It must submit an annual report to the Congregation

which provides evidence that the integrity of faith and morals is preserved

and that its apostolic activity is in accord with the Congregation’s purposes.

Id. Its 2011 report confirms that it is a ministry of the Catholic Church. Id. ¶

25. Seven of the eleven members of Ascension Health Ministries for fiscal

year 2012 were members of religious orders. Id. ¶ 20.

       Ascension Health Alliance, a Missouri non-profit corporation, was

formed to carry out the mission of Ascension Health Ministries. Id. ¶ 21. Its

bylaws provide that it would be governed according to the “mission, vision,

and values” of Ascension Health Ministries and “in accordance with the

official teachings of the Roman Catholic Church.” Id. ¶ 22. Ascension Health

Ministries approved the creation of Ascension Health Alliance as the new

parent organization for the Ascension healthcare system. Id. ¶¶ 23–24, 26.

       Ascension Health is a Missouri non-profit and a subsidiary of

Ascension Health Alliance. Id. ¶ 27. Its articles of incorporation (in effect at

       4
        Columbia explains that this is the Roman Catholic Church’s equivalent of
creating a corporation under civil law. (Docket #49 at 5 n.3).

                                Page 10 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 10 of 32 Document 60
the relevant time) provided that it was to serve in the health ministry of the

Roman Catholic Church, “to carry out its mission and ensure that the

elements of Catholic identity are integrated and implemented throughout the

health ministry.” Id. At the relevant time, five members of the Ascension

Health board of trustees, including the chair, were members of religious

orders. Id.

       Columbia St. Mary’s, Inc., a Wisconsin non-profit corporation, is

“sponsored” by Ascension Health and Columbia Health System, Inc., which

is a non-sectarian community health system. Id. ¶ 28. Ascension Health

enjoys broad powers with respect to Columbia St. Mary’s, Inc., including the

power to approve its mission and vision statements; approve changes to its

governing documents; appoint or remove directors, including the chairman;

approve transfer of assets and reallocation of debt among Columbia St.

Mary’s, Inc. and other Ascension Health ministries; and approve of the

incurrence of debt. Id. ¶ 31. Columbia St. Mary’s, Inc.’s bylaws provide that

it will control any subsidiaries, including having the power to approve the

subsidiary’s mission and value statements and its governing documents;

approve or remove the members of the governing board; approve the

operating and capital budget of the subsidiary; and approve the subsidiary’s

senior executive. Id. ¶ 32.

       Columbia (the defendant here)—whose legal name is Columbia St.

Mary’s Hospital Milwaukee, Inc.—was one such subsidiary of Columbia St.

Mary’s, Inc. Id. ¶ 33. Columbia is a non-profit organization whose sole

corporate member is Columbia St. Mary’s, Inc. Id. Columbia’s governing

documents provide that its purpose is to serve in the health ministry of the

Catholic Church and carry out its mission. Id. ¶ 34. To that end, the ethical

and religious directives of Columbia state that it “shall be and remain a

                                Page 11 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 11 of 32 Document 60
Catholic facility or institution, and shall not perform procedures or activities

that are inconsistent with the Ethical and Religious Directives for Catholic

Health Care Services.” Id. Columbia was listed in “The Official Catholic

Directory” for 2012. Id. ¶ 37.

       Reed does not take issue with the broad outlines of this corporate

structure. Rather, she attacks it at discrete points, noting inconsistencies in the

documents submitted and instances where a particular entity is nonsectarian

or controlled by lay persons. For example, she claims that, based on an

Ascension webpage she accessed in November 2016, it is arguable that
Ascension Health Ministries may not have existed in 2012, at least not in the

form Columbia describes. Id. ¶¶ 16–17. Although she does not thoroughly

explain her point, the Court gathers that this would, in Reed’s view, defeat

the notion that Ascension Health Ministries oversaw Ascension Health

Alliance and used it to carry out Ascension Health Ministries’ Catholic

mission. See (Docket #59 ¶¶ 26–28).

       Next, she contends that Ascension Health Ministries’ 2011 report to

the Congregation is not a credible source for information about its religious

identity. (Docket #55 ¶¶ 19–20). According to Reed, the report submitted by

Columbia was drafted by an entity other than Ascension Health Ministries

and was in fact drafted for Ascension Health Alliance. Id. She also states that

“annual reports are not governing documents and are usually drafted, edited,

and produced by staff members or outside contractors who may not be

assumed to understand the intricate relationships among the corporate and

governance structures referenced.” Id. She submitted no evidence that this

report was drafted by an uninformed staff member or contractor.

       Further, Reed contends that under its bylaws in effect at the time of

her treatment, Ascension Health had only one corporate member, Ascension

                                  Page 12 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 12 of 32 Document 60
Health Alliance, which was not itself a religious order. (Docket #59 ¶¶ 17–22).

Before that time, Ascension Health had corporate members that were

religious orders. Id. ¶ 19. She also asserts that Ascension Health Alliance

exercised essentially complete control over Ascension Health. Id. ¶¶ 23–25.

Columbia rejoins that Ascension Health and Ascension Health Alliance had

several board members who were members of religious orders. Id. ¶ 18.

Additionally, Ascension Health Alliance’s parent, Ascension Health

Ministries, had members of religious orders in seven of its eleven board seats.

Id. ¶ 22.

       Of critical importance to Reed is the involvement of Columbia Health

System, Inc. in this governing structure. Columbia Health System, Inc., was

a co-sponsor, along with Ascension Health, of Columbia St. Mary’s, Inc..

(Docket #59 ¶ 9). It is a non-profit but has no religious purpose, according to

its bylaws. Id. In terms of governing Columbia St. Mary’s, Inc., Columbia

Health System, Inc. had the power to approve the sale, transfer or substantial

change in use of all or substantially all of the assets of Columbia St. Mary’s,

Inc. or its divestiture, dissolution, closure, corporate merger, corporate

consolidation, change in corporate membership or corporate reorganization;
to approve Columbia St. Mary’s, Inc.’s mission and vision statement; and to

approve any changes to its governing documents, or those of Columbia, that

would affect Columbia Health System, Inc.’s interest in Columbia St. Mary’s,

Inc., or its rights under its affiliation agreement. Id. ¶ 11.

       Reed also emphasizes that Columbia St. Mary’s, Inc.’s bylaws state

that it “shall not be a Catholic facility or institution, but will not perform

procedures that are inconsistent with the Ethical and Religious Directives for

Catholic Health Care Services as approved. . .by the United States Conference

of Catholic Bishops.” Id. ¶¶ 4–7. Under its bylaws, it does not have an

                                  Page 13 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 13 of 32 Document 60
express religious purpose. (Docket #50-21 ¶¶ 1.2, 1.3, 1.4). Nevertheless,

Columbia’s bylaws state that it “will respect the nonsectarian traditions and

values of Columbia Health System, Inc. (“CHS”) and the statements of

Mission, Vision and values of Ascension Health in accordance with the

official teachings of the Roman Catholic Church and the Ethical and Religious

Directives for Catholic Health Care Services[.]” (Docket #50-20 ¶ 1.2). Further,

one of its central roles is “[t]o serve in the health ministry of the Roman

Catholic Church and carry out its mission.” Id. ¶ 1.3-a.5 Reed claims that

Columbia and Columbia St. Mary’s, Inc. had the same board of directors, but,

as Columbia points out, the evidence she cites—a pamphlet prepared for

distribution to the public on Columbia’s website—does not establish this.

(Docket #59 ¶ 4). However, Columbia does admit that it and Columbia St.

Mary’s, Inc., had the same senior executive and that this person executed

their amended bylaws that were in effect in March 2012. Id. ¶ 6.

4.     ANALYSIS

       As noted above, in her amended complaint, Reed brings claims for

violations of Title III of the ADA, Section 504 of the Rehabilitation Act, and

the Wisconsin Mental Health Act. Columbia claims exemption from the

requirements of the ADA because it is controlled by a religious organization.

It also asserts that it did not discriminate against Reed solely on the basis of


       5
          Reed also attempts to show that Columbia Center Birth Hospital, a hospital
owned by Columbia St. Mary’s, Inc., performs contraceptive operations like
vasectomies, in violation of Catholic doctrine. See (Docket #59 ¶¶ 14–16). She does
not explain why the operations of that facility are relevant here, nor does she draw
a competent evidentiary chain between that hospital and those who control
Columbia. For example, Columbia St. Mary’s, Inc. does not list this entity in its
bylaws as one which it controls. (Docket #50-21 ¶ 1.4-c). The Court does not find
Reed’s evidence on this point—an image of a webpage captured in November
2016—to be competent evidence on the question of Columbia’s organizational
affiliations in March 2012. See (Docket #55-7).

                                  Page 14 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 14 of 32 Document 60
her disability, thereby undermining her Rehabilitation Act claims. Finally,

Columbia urges that in the absence of viable claims under federal law, the

Court should decline to exercise supplemental jurisdiction over her remaining

state-law clams. The Court will discuss each argument in turn.

       4.1     Religious Exemption Under the ADA

       Title III of the ADA forbids discrimination against disabled individuals

in places of public accommodation. 42 U.S.C. § 12182(a); PGA Tour, Inc. v.

Martin, 532 U.S. 661, 675 (2001). However, the ADA does not apply to

“religious organizations or entities controlled by religious organizations.” 42
U.S.C. § 12187. Columbia claims that it is controlled by a religious institution

and, as a result, enjoys immunity from ADA claims. Reed argues that

Columbia waived the defense by failing to raise it in its answer. (Docket #52-

1). She also asserts that disputes of fact preclude a ruling at this time as to

whether Columbia qualifies for the religious exemption. (Docket #52 at 1–8).

       Before reaching the merits of the defense, the Court must first

determine whether Columbia has waived it. It is undisputed that Columbia

formally asserted this defense for the first time in its summary judgment

motion. Most affirmative defenses must be stated in a defendant’s answer or

they can be deemed waived. See Fed. R. Civ. P. 8(c). However, if an

affirmative defense is not listed in Rule 8(c), it is not clear that failure to assert

it in the answer waives it. See Winforge, Inc. v. Coachmen Indus., Inc., 691 F.3d

856, 872 (7th Cir. 2012). The more appropriate inquiry in these circumstances

is to inquire whether Reed suffered any prejudice from Columbia’s delay in

asserting the defense. Matthews v. Wis. Energy Corp., Inc., 642 F.3d 565, 570

(7th Cir. 2011).

       The Court finds no prejudice here. Reed claims that because of the late

notice of this defense, she has had “neither fair notice of the defense nor a fair

                                   Page 15 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 15 of 32 Document 60
opportunity to conduct proper discovery on the issue.” (Docket #54-1 at 2).

Yet, in February 2016, six months before the close of discovery, Reed deposed

one of Columbia’s employees about its ownership structure. At that time,

Reed learned that Columbia claimed to be a “religious organization” that was

“a ministry of the Roman Catholic Church.” See (Docket #55-8 13:13–15:20).

Thus, Reed has known for a substantial period that the religious exemption

defense was a possibility. She also knew upon filing the suit that she was

suing a hospital at least nominally associated with the Roman Catholic faith.

See Spann v. Word of Faith Christian Ctr., 589 F. Supp. 2d 759, 763–64 (S.D.

Miss. 2008). Further, in responding to Columbia’s motion, Reed reveals that

during discovery she obtained and studied the articles of incorporation and

governing documents for the relevant organizations.1 In short, she had plenty

of notice and a fair chance to prepare to resist Columbia’s religious

exemption defense. Williams v. Lampe, 399 F.3d 867, 871 (7th Cir. 2005) (“The

purpose of Rule 8(c) is to give the opposing party notice of the affirmative

defense and a chance to rebut it.”); Venters v. City of Delphi, 123 F.3d 956,

968–69 (7th Cir. 1997) (defense waived when raised first in summary-

judgment reply and with no indication that any discovery was taken on it).

Thus, the Court finds that Columbia has not waived the defense and will
deny Reed’s motion to strike the same.

       The Court now turns to the merits of the religious exemption defense.

As noted above, the ADA does not apply to “religious organizations or


       1
         If she did not have the necessary materials for responding to the defense,
she could have sought more time to respond to Columbia’s motion pursuant to
Rule 56(d), but she did not. Fed. R. Civ. P. 56(d)(2) (“If a nonmovant shows by
affidavit or declaration that, for specified reasons, it cannot present facts essential
to justify its opposition, the court may. . .allow time to obtain affidavits or
declarations or to take discovery.”).

                                   Page 16 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 16 of 32 Document 60
entities controlled by religious organizations.” 42 U.S.C. § 12187. The statute

does not define what it means to be a “religious organization” or to be

“controlled” by one. See id. The Department of Justice, however, has

explained that

       [t]he ADA’s exemption of religious organizations and religious
       entities controlled by religious organizations is very broad,
       encompassing a wide variety of situations. Religious
       organizations and entities controlled by religious organizations
       have no obligations under the ADA. Even when a religious
       organization carries out activities that would otherwise make
       it a public accommodation, the religious organization is exempt
       from ADA coverage. Thus, if a church itself operates a day care
       center, a nursing home, a private school, or a diocesan school
       system, the operations of the center, home, school, or schools
       would not be subject to the requirements of the ADA or this
       part. The religious entity would not lose its exemption merely
       because the services provided were open to the general public.
       The test is whether the church or other religious organization
       operates the public accommodation, not which individuals
       receive the public accommodation’s services.

       Religious entities that are controlled by religious organizations
       are also exempt from the ADA’s requirements. Many religious
       organizations in the United States use lay boards and other
       secular or corporate mechanisms to operate schools and an
       array of social services. The use of a lay board or other
       mechanism does not itself remove the ADA’s religious
       exemption. Thus, a parochial school, having religious doctrine
       in its curriculum and sponsored by a religious order, could be
       exempt either as a religious organization or as an entity
       controlled by a religious order, even if it has a lay board. The
       test remains a factual one—whether the church or other
       religious organization controls the operations of the school or
       of the service or whether the school or service is itself a
       religious organization.

28 C.F.R. Part 36, App. C; see also Chevron U.S.A., Inc. v. Natural Res. Def.



                                Page 17 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 17 of 32 Document 60
Council, Inc., 467 U.S. 837, 844 (1984) (courts should generally accord

substantial deference to an executive department’s interpretation of the

statutes it administers).

       No appellate court has yet construed Title III’s religious exemption.

Cole v. St. Francis Med. Ctr., Case No. 1:15 CV 98 ACL, 2016 WL 7474988, at

*5 (E.D. Mo. Dec. 29, 2016). However, this Court has had occasion to consider

the issue. In Rose v. Cahee, 727 F. Supp. 2d 728 (E.D. Wis. 2010), the Court

found that Agnesian Healthcare, Inc. (“Agnesian”), a not-for-profit, tax

exempt healthcare corporation was covered by the religious exemption. Id.

at 747. Several factors influenced the Court’s decision. First, the religious

exemption appears to be very broad, since Congress extended it not only to

religious organizations but also to those entities controlled by religious

organizations. Id. Second, an order of Catholic nuns sponsored Agnesian and

occupied “a primary role in the corporation’s corporate governance

structure.” Id. The order made up one class of corporate membership, and

only that class had the authority to amend or repeal the corporation’s articles

of incorporation and bylaws. Id. at 747–48.

       Third, while the nuns were not involved in “the daily operation and
decision-making of Agnesian’s individual healthcare facilities,” this was

insufficient to defeat the exemption. Id. As the Court explained,

       [a] religious organization need not directly determine the rates
       for medical services or directly engage in the hiring and firing
       of employees to control a healthcare institution. Indeed, the
       regulations specify that many religious organizations use lay
       boards and other secular mechanisms to operate social service
       entities, and that such “use of a lay board or other mechanism
       does not itself remove the ADA’s religious exemption.” 28
       C.F.R. Part 36, App. B. Requiring a religious organization to be
       involved in the daily operations of its social service providers
       in order to qualify for the § 12187 religious organization

                                Page 18 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 18 of 32 Document 60
       exemption undermines the intended broad application of the
       statute.

Id. at 748. Thus, Agnesian qualified for the religious exemption because it was

controlled by a religious organization. Id.; see also Marshall v. Sisters of Holy

Family of Nazareth, 399 F. Supp. 2d 597, 598 (E.D. Pa. 2005) (grade school

operated by Roman Catholic nuns exempt when curriculum included bible

study and Christian principles, and school was listed in “The Official Catholic

Directory”); White v. Denver Seminary, 157 F. Supp. 2d 1171, 1173 (D. Colo.

2001) (seminary exempt when its purpose was to train students for Christian

ministry, faculty and students required to assert a statement of religious

beliefs and participate in religious curriculum, and majority of board of

trustees had to be members of the Conservative Baptist Association); Cole,

2016 WL 7474988, at *6 (hospital exempt because it was under the jurisdiction

of local Catholic diocese, “participate[d] in the health care mission of the

Roman Catholic Church,” was required to adhere to the “doctrine of the

Roman Catholic Church,” and board members and bylaws changes had to be

approved by the bishop of the diocese); but see Sloan v. Cmty. Christian Day

Sch., LLC, No. 3–15–0551, 2015 WL 10437824, at *3 (M.D. Tenn. Dec. 11, 2015)

(Christian school not exempt when school was not owned, affiliated with, or

financially supported by any recognized religious group but instead was

owned “by a [lay] couple who felt called to start a Christian school”).

       This Court’s decision in Rose controls the outcome here. Columbia has

traced its lineage back to the Vatican. The corporate entities that exist in

between are overseen in significant part by religious orders or members of

religious orders. Those entities exercise control, one over the other, in

accordance with Catholic dogma, as does Columbia itself. See Cole, 2016 WL

7474988, at *6. And although Columbia respects the non-sectarian traditions

                                 Page 19 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 19 of 32 Document 60
of Columbia Health System, Inc., its bylaws provide that it will act in

accordance with Catholic doctrine and that its mission is to serve in the health

ministry of the Catholic Church. Further, Columbia was listed in “The Official

Catholic Directory” for the relevant period, and it declares itself to be “a

Catholic facility.” See Marshall, 399 F. Supp. 2d at 598. Columbia is, at a

minimum, a “pervasively religious organization.” White, 157 F. Supp. 2d at

1174.

        Reed’s response to all of this, as described previously, is to try and

poke holes in Columbia’s Catholic pedigree. Throughout her submissions,
Reed points to incorrect dates, missing signatures, documents that look like

drafts, and webpages that suggest that certain of the entities might have

existed in different forms during March 2012. See (Docket #55 ¶¶ 16–35).

These types of disputes are trivial and generally raise only “metaphysical”

doubt as to Columbia’s proffered facts regarding its ownership and control.

See Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 588 (1986);

Marshall, 399 F. Supp. 2d at 606 (rejecting the plaintiff’s attempt to “conjure

a nonexistent material dispute,” including that the school employs lay

teachers and was not subject to the archdiocese’s rules).
        Reed makes more substantive challenges to Columbia’s ownership,

but they still fall short. First, although it is true that Ascension Health, one of

the co-sponsors of Columbia St. Mary’s, Inc., did not have religious orders as

corporate members, members of religious orders occupied many seats on the

board of trustees. Further, its parent company, Ascension Health Alliance,

had members of religious orders on the board as well. Tracing back one step

further reveals even more members of religious orders involved with the

oversight of Ascension Health Ministries. If Reed’s argument is that this is

too attenuated a religious connection for Columbia to rely upon, neither the

                                  Page 20 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 20 of 32 Document 60
ADA, the relevant regulations, nor the case law erect bright-line rules for the

religious exemption analysis. Whether there are members of religious orders

on Columbia’s own board of directors is relevant, but not dispositive.

       Second, Reed emphasizes Columbia’s non-sectarian affiliations with

her evidence regarding Columbia Health System, Inc. That entity is not itself

a religious organization and is not managed by members of religious orders.

In this way, Reed’s case is similar to Rose, where the plaintiff showed that the

religious entities that controlled Agnesian shared power with other corporate

members. Rose, 727 F. Supp. 2d at 747. But as explained in the ADA’s

accompanying regulations, even a substantial degree of involvement of non-

sectarian persons or entities is not enough to take Columbia outside the

protection of Title III’s religious exemption. 28 C.F.R. Part 36, App. C (the

“use [of] lay boards and other secular or corporate mechanisms to operate”

an entity “does not itself remove the ADA’s religious exemption”).

       More importantly, Columbia Health System, Inc. does not exercise

primary control over Columbia St. Mary’s, Inc. That power lay with

Ascension Health, which has direct religious oversight. Ascension Health can

approve Columbia St. Mary’s, Inc.’s mission statement, approve changes to

its bylaws, appoint or remove its directors, including the chairman, and

control major aspects of its finances. By contrast, Columbia Health System,

Inc. exercises some similar powers, but only insofar as changes to governing

structure or membership affect its interest in Columbia or in Columbia St.

Mary’s, Inc. Review of Columbia St. Mary’s, Inc.’s governing documents

reveals that Ascension Health undoubtedly enjoys broader powers than

Columbia Health System, Inc. See (Docket #50-19 at 6–7). While the precise

contours of each entity’s control may be subject to debate, it is enough to say

that the level of non-sectarian involvement in Columbia St. Mary’s, Inc.’s

                                Page 21 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 21 of 32 Document 60
governance does not displace the “primary role” that the Catholic Church

occupies therein. Rose, 727 F. Supp. 2d at 747.

       Finally, the fact that Columbia St. Mary’s, Inc. does not itself have a

religious purpose does not undermine Columbia’s religious connection. The

company’s bylaws speak of adherence to Catholic teachings regarding what

procedures may be performed. Like its subsidiary, Columbia St. Mary’s, Inc.’s

respect for non-sectarian involvement in its governance does not mean that

it cannot be controlled by a religious organization. The undisputed facts

demonstrate that the two principles can and do operate side-by-side in this

instance.

       For these reasons, the Court concludes that Columbia falls within Title

III’s religious exemption because it is “controlled by a religious organization.”

42 U.S.C. § 12187. As a result, the Court must dismiss all of Reed’s claims

brought pursuant to the ADA.

       4.2    Rehabilitation Act Claims

       Section 504 of the Rehabilitation Act provides that “[n]o otherwise

qualified individual with a disability. . .shall, solely by reason of her or his

disability, be excluded from the participation in, be denied the benefits of, or

be subjected to discrimination under any program or activity receiving

Federal financial assistance[.]” 29 U.S.C. § 794(a). For cases other than those

involving employment discrimination, the Rehabilitation Act incorporates

“[t]he remedies, procedures, and rights set forth in title VI of the Civil Rights

Act of 1964 (42 U.S.C. 2000d et seq.).” Id. § 794a(2); Reed v. Columbia St. Mary’s

Hosp., 782 F.3d 331, 337 (7th Cir. 2015). A plaintiff bringing a Rehabilitation

Act claim can show that she was intentionally discriminated against or that

the defendant failed to afford her a reasonable accommodation for her

disability. Wis. Cmty. Serv. v. City of Milwaukee, 465 F.3d 737, 747 (7th Cir.

                                 Page 22 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 22 of 32 Document 60
2006); see also Alexander v. Choate, 469 U.S. 287, 300–01 (1985). Reed advances

both theories in this case. See (Docket #37 ¶¶ 28–39).2

       Yet, under either theory—and unique to claims under the

Rehabilitation Act—the plaintiff must show that she was subjected to

discrimination “solely by reason of” her disability. 29 U.S.C. § 794(a); Wis.

Cmty. Servs., 465 F.3d at 751; Mallett v. Wis. Div. of Vocational Rehab., 130 F.3d

1245, 1257 (7th Cir. 1997) (“‘The word solely provides the key: the

discrimination must result from the handicap and from the handicap alone.’”)

(quoting Johnson by Johnson v. Thompson, 971 F.2d 1487, 1493 (10th Cir. 1992)).

The “Rehabilitation Act forbids discrimination based on stereotypes about a

handicap, but it does not forbid decisions based on the actual attributes of the

handicap.” Anderson v. Univ. of Wis., 841 F.2d 737, 740 (7th Cir. 1988). Its

purpose is to protect “handicapped individuals from deprivations based on

prejudice, stereotypes, or unfounded fear, while giving appropriate weight

to such legitimate concerns as. . .avoiding exposing others to significant

health and safety risks.” School Bd. of Nassau Cnty. v. Arline, 480 U.S. 273, 287

(1987). By contrast, a claim under the ADA can be maintained if

discrimination was merely a motivating factor for the defendant’s action. See

Alfano v. Bridgeport Airport Servs., Inc., No. 04–CV–1406, 2006 WL 1933275, at

       2
         The Act also contemplates a cause of action for retaliation after an
individual asserts her rights under the Act. Reed, 782 F.3d at 337. In reviewing her
original complaint, the Seventh Circuit found that Reed could maintain such a
claim. Id.; see also (Docket #1). She omitted this claim from her amended complaint,
however. She makes a retaliation claim only under the ADA. (Docket #37 ¶¶
49–51). To the extent that the Court of Appeals generously construed Reed’s
original complaint, which she drafted on her own without the assistance of
counsel, to contain a Rehabilitation Act retaliation claim, this Court cannot
overlook that she and her counsel (which the Court recruited for her after remand)
did not try to make such a claim in her amended complaint. In the end, the failure
to plead the retaliation claim is immaterial, since it would fail for the same reasons
as her existing Rehabilitation Act claims.

                                   Page 23 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 23 of 32 Document 60
*3 (D. Conn. July 12, 2006) (“[O]ne of the few differences between the

Rehabilitation Act and the [ADA] is the Rehabilitation Act’s limitation to

denial of benefits ‘solely’ by reason of disability, whereas the ADA covers

situations in which discrimination on the basis of disability is one factor, but

not the only factor, motivating an adverse employment action.”) (internal

quotation marks omitted).

       Some decisions downplay this important distinction between the

Rehabilitation Act and other, similar statutes like the ADA. See Wagoner v.

Lemmon, 778 F.3d 586, 592 (7th Cir. 2015) (calling a Rehabilitation Act claim

“functionally identical” to an ADA claim); Henrietta D. v. Bloomberg, 331 F.3d

261, 272 (2d Cir. 2003). Others embrace it. See Soledad v. U.S. Dep’t of Treasury,

304 F.3d 500, 505 (5th Cir. 2002) (“Liability can only be found when the

discrimination was ‘solely by reason of her or his disability,’ not when it is

simply a ‘motivating factor.’”). In a recent opinion, the Sixth Circuit, sitting

en banc, addressed the issue squarely, finding that

       [the Rehabilitation Act] bars differential treatment “solely by
       reason of” an individual’s disability; the [ADA] bars
       differential treatment “because of” the individual’s disability.
       No matter the common history and shared goals of the two
       laws, they do not share the same text. Different words usually
       convey different meanings, and that is just the case here. A law
       establishing liability against employers who discriminate
       “because of” an employee’s disability does not require the
       employee to show that the disability was the “sole” cause of
       the adverse employment action.

Lewis v. Humboldt Acquisition Corp., Inc., 681 F.3d 312, 315–17 (6th Cir. 2012)

(en banc). The Fourth Circuit has made the same observation: “Despite the

overall similarity of [the ADA] and [the Rehabilitation Act], the language of

these two statutory provisions regarding the causative link between


                                 Page 24 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 24 of 32 Document 60
discrimination and adverse action is significantly dissimilar.” Baird v. Rose,

192 F.3d 462, 469 (4th Cir. 1999); see also McNely v. Ocala Star–Banner Corp., 99

F.3d 1068, 1073–77 (11th Cir. 1996).

       Columbia does not challenge whether Reed is disabled, whether it

knew of her disabilities, or whether it could have provided additional

accommodations to her. Instead, Columbia argues that Reed cannot establish

that it discriminated against her solely by reason of her disability. Reed alleges

that, throughout her stay at Columbia, she was subjected to systematic

discrimination because of her communication and personality disorders.

Columbia asserts that its actions stemmed from the fact that Reed was an

unruly, demanding, and uncooperative patient, not because of her disabilities.

       The parties focus on Reed’s encounter with Miller on the morning of

March 11, 2012, and although there are certainly other aspects to her claims,

March 11 is the focal point. Columbia presents the testimony of Miller and

Fry that they placed Reed in seclusion that morning because of her disruptive

behavior and refusing to follow instructions. Reed disagrees with their

version of events, arguing instead that Miller overreacted to Reed’s request

for her Dynavox, her request to speak to her case manager, or her act of

spilling coffee on herself. Critically, however, she admits that she spilled her

coffee and thereafter fell to the floor screaming. She further concedes that

Miller told her that she could not remain on the floor in the middle of the

hallway. (Docket #55 ¶ 43).

       These concessions are fatal to her claim. In the employment context,

the Seventh Circuit has explained that

       [a]n employer may fire an employee for engaging in
       unacceptable workplace behavior without violating the ADA
       (or the Rehabilitation Act), even if the behavior was
       precipitated by a mental illness. The Rehabilitation Act protects

                                 Page 25 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 25 of 32 Document 60
       qualified employees from discrimination ‘solely by reason of’
       disability, meaning that if an employer fires an employee for
       any reason other than that she is disabled—“even if the reason
       is the consequence of the disability”—there has been no
       violation of the Rehabilitation Act.

Brumfield v. City of Chicago, 735 F.3d 619, 630–31 (7th Cir. 2013) (internal

citations omitted) (quoting Matthews v. Commonwealth Edison Co., 128 F.3d

1194, 1196 (7th Cir. 1997)); see also Hamilton v. Sw. Bell Tel. Co., 136 F.3d 1047,

1052–53 (5th Cir. 1998) (employee could be fired for violent outbursts

although precipitated by PTSD).

       Brumfield’s reasoning applies directly to this case. It is undisputed that

Reed fell to the floor screaming after spilling coffee on herself and that Miller

instructed her that she could not remain on the floor. Assuming that the rest

of her story is true—that Miller brusquely carried her to a seclusion room and

left her there for two hours—it is indisputable that some portion of his

conduct was motivated by a need to stop Reed from disturbing other patients

and from laying on the floor. Brumfield teaches that even if Reed’s spill and

fall were a manifestation of her TD, the result was a nondiscriminatory basis

on which Miller could act.
       Additionally, because of the stringent causation standard applied to

Rehabilitation Act claims, it does not matter whether Miller or Fry followed

Columbia’s procedures for secluding Reed—or indeed, whether Columbia

had any appropriate procedures. The uncontroverted facts establish that

Reed’s disruptive conduct motivated their actions, and there the inquiry must

end. See Johnson, 971 F.2d at 1493; Soledad, 304 F.3d at 505.

       The same principle forecloses Reed’s claims about the rest of

Columbia’s conduct during her stay. This includes: (1) Columbia’s refusal to

show Reed her medication records; (2) Columbia’s refusal to allow Reed to

                                  Page 26 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 26 of 32 Document 60
use the telephone; (3) Columbia’s refusal to allow Reed to see a chaplain; (4)

Columbia’s refusal to allow her the use of her Dynavox at various times; and

(5) her security escort at discharge. (Docket #37 ¶¶ 36–39). There is no dispute

that throughout her time at Columbia, Reed engaged in loud, disruptive

behaviors and that she was oftentimes uncooperative in her plan of care. She

attributes her conduct to her TD and other disorders, but the fact remains that

Columbia responded to her actions, not solely to her disabilities. It matters

not whether those actions were precipitated by her disabilities. Brumfield, 735

F.3d at 630–31.

       This Court’s decision in Rose, which also involved a Rehabilitation Act

claim, serves as a useful contrast. There, the plaintiff, who had HIV, was

referred to a surgeon for removal of her gallbladder. Rose, 727 F. Supp. 2d at

734. She testified that when she met with the surgeon, he refused to operate

on her because of the risk of exposure to her HIV. Id. The doctor proffered no

other basis for his refusal other than her disease. Id. at 749. The Court found

that a reasonable jury could conclude, based on this evidence, that the

plaintiff suffered discrimination solely on the basis of her HIV. Id. at 748.

       Unlike Rose, here Columbia has amassed a substantial body of

evidence showing that Reed’s conditions caused her to be loud, unruly, and

uncooperative. Columbia’s actions were motivated, at least in part, at

controlling this behavior. For instance, although Reed complains that Fry

unilaterally decided that she should not be given her Dynavox upon request,

he did so because her behavior was poor. Even if he was wrong to deny her

the machine for that reason, this undisputed evidence establishes that his

actions were not based solely upon her disabilities. Likewise, assuming

Columbia staff ignored Reed’s warning that she was allergic to psychotropic

medications, there is no evidence that this was done solely because of her

                                Page 27 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 27 of 32 Document 60
disabilities. The same goes for her allegations about being refused access to

her medication records, the telephone, and the hospital chaplain, as well as

her discharge escort. In short, she has not shown that Columbia’s decisions

in these instances were based only on stereotypes about her disabilities rather

than on Reed’s behavior. Arline, 480 U.S. at 287.

       Viewed from the proper perspective, Reed’s claims are, at best, for

medical malpractice or violation of her Wisconsin statutory rights, not

discrimination. The Rehabilitation Act, like the ADA, “does not create a

remedy for medical malpractice.” Bryant v. Madigan, 84 F.3d 246, 249 (7th Cir.

1996); Grzan v. Charter Hosp. of N.W. Ind., 104 F.3d 116, 121, 123 (7th Cir.

1997), abrogated on other grounds, Amundson ex rel. Amundson v. Wis. Dep’t of

Health Servs., 721 F.3d 871 (7th Cir. 2013). That Reed is disabled does not

automatically make Columbia’s alleged misconduct discriminatory. Resel v.

Fox, 26 F. App’x 572, 577 (7th Cir. 2001); see also Casimir v. Ill. Dep’t of Public

Aid, 202 F.3d 272, 1999 WL 828601, at *2 (7th Cir. 1999) (whether plaintiff was

wrongfully denied food stamps had nothing to do with his disability and

was, at best, a possible violation of Illinois law, not the ADA). “[E]ven if the

decision[s]” of Columbia’s staff were “reprehensible and constituted

malpractice,” the Rehabilitation Act affords no remedy absent a showing that

discrimination was the sole basis of the decisions. McGugan v. Aldana-Bernier,

752 F.3d 224, 232 (2d Cir. 2014).3

       Because no reasonable factfinder could conclude that Columbia

       3
         Reed relies heavily on the Court of Appeals’ prior opinion in this case, but
that reliance is misplaced. In reviewing Reed’s initial complaint, the Seventh
Circuit addressed Reed’s allegation that she asked for her Dynavox and was then,
without provocation, thrown into seclusion. See Reed, 782 F.3d at 337; (Docket #1
¶¶ 10–11). The undisputed facts tell a different story, one that does not involve
discrimination based solely on Reed’s disabilities. See id. (“Whether evidence will
support Reed’s claim[s] is a question for later in the case.”).

                                   Page 28 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 28 of 32 Document 60
discriminated against Reed based solely on her disabilities, the Court is

constrained to dismiss her Rehabilitation Act claims.

       4.3     Supplemental Jurisdiction

       The Court has dismissed each of Reed’s claims arising under federal

law. Because no federal claims remain in this case, there is a presumption that

the Court will relinquish supplemental jurisdiction over her Wisconsin state-

law claims. See 28 U.S.C. § 1367(c)(3) (a district court may decline to exercise

supplemental jurisdiction over a state-law claim if it “has dismissed all claims

over which it has original jurisdiction”); Al’s Serv. Ctr. v. BP Prods. N. Am.,

Inc., 599 F.3d 720, 727 (7th Cir. 2010) (“When all federal claims in a suit in

federal court are dismissed before trial, the presumption is that the court will

relinquish federal jurisdiction over any supplemental state-law claims.”). The

Seventh Circuit has identified certain circumstances that may overcome that

presumption, including: (1) when the statute of limitations has run on the

state-law claims, precluding the filing of a separate suit in state court; (2)

when substantial judicial resources have already been committed, so that

sending the case to another court will cause a substantial duplication of

effort; or (3) when it is absolutely clear how the state-law claims can be

decided. Sharp Elecs. Corp. v. Metro. Life Ins. Co., 578 F.3d 505, 514–15 (7th Cir.

2009). Even when such circumstances are present, the decision to exercise

supplemental jurisdiction is still committed to the Court’s discretion. Disher

v. Info. Res., Inc., 873 F.2d 136, 140 (7th Cir. 1989).

       Apparently confident that her federal claims would survive, Reed

devotes no argument to why the Court should retain jurisdiction over her

state-law claims. On this basis alone, the Court could find that the

presumption in favor of dismissal has not been rebutted. Nevertheless, the

Court’s independent consideration of the factors from Sharp Electronics also

                                  Page 29 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 29 of 32 Document 60
adequately demonstrates that dismissal is appropriate. First, the parties have

not cited and the Court has not located definitive authority on which statute

of limitations applies to her Wisconsin Mental Health Act claims, so it cannot

say that a later attempt to file those claims in a Wisconsin court will be

barred.

       Further, although substantial time and resources have been committed

to this litigation thus far, the Court has not considered the merits of the state-

law claims. Those claims arise under a unique statutory scheme designed to

protect certain rights of medical patients. See Wis. Stat. § 51.61. Such claims

are quite different from Reed’s federal disability discrimination claims in

scope, purpose, and substantive standards. Thus, the effort spent deciding the

federal claims does not translate usefully to the state-law claims. See RWJ

Mgmt. Co., Inc. v. BP Prods. N.A., Inc., 672 F.3d 476, 480 (7th Cir. 2012).

Moreover, the law as it relates to the Wisconsin claims has not been briefed,

so the Court cannot discern whether the record is sufficiently developed to

adjudicate them.

       Additionally, the mere fact that this case is close to its trial date is not

enough to require retention of jurisdiction. Id. at 481–82. Nor is the case’s age

dispositive; although this action is over two years old, it should be noted that

nine months of its life was spent on appeal to the Seventh Circuit. Compare id.

at 481 (affirming decision to decline supplemental jurisdiction in 15-month-

old case), with Miller Aviation v. Milwaukee Cnty. Bd. of Supervisors, 273 F.3d

722, 726 (7th Cir. 2001) (reversing decision to decline supplemental

jurisdiction where case was five years old). Since it does not appear that any

circumstances exist warranting the continued exercise of jurisdiction over

Reed’s state-law claims, those claims will be dismissed without prejudice.



                                 Page 30 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 30 of 32 Document 60
5.     CONCLUSION

       As detailed above, Columbia enjoys immunity from the requirements

of Title III of the ADA under the statute’s religious exemption. All of Reed’s

ADA claims must, therefore, be dismissed. Further, the undisputed facts

show that Columbia’s alleged mistreatment of Reed during her stay in March

2012 was not premised solely on Reed’s disability. Consequently, she cannot

maintain claims under the Rehabilitation Act. Finally, as no claims arising

under federal law remain in this case, the Court will exercise its discretion to

dismiss Reed’s state-law claims without prejudice.
       Accordingly,

       IT IS ORDERED that Defendant Columbia St. Mary’s Hospital’s

motion for summary judgment (Docket #49) be and the same is hereby

GRANTED;

       IT IS FURTHER ORDERED that Plaintiff Linda Reed’s motion to

strike Columbia’s motion for summary judgment (Docket #51) be and the

same is hereby DENIED;

       IT IS FURTHER ORDERED that Plaintiff Linda Reed’s motion to

restrict documents (Docket #53) be and the same is hereby GRANTED;

       IT IS FURTHER ORDERED that Plaintiff Linda Reed’s motion to

strike Columbia’s religious exemption defense (Docket #54) be and the same

is hereby DENIED;

       IT IS FURTHER ORDERED that Plaintiff Linda Reed’s first, second,

third, fourth, and fifth claims in her First Amended Complaint (Docket #37),

arising under the ADA and the Rehabilitation Act, be and the same are

hereby DISMISSED with prejudice;

       IT IS FURTHER ORDERED that Plaintiff Linda Reed’s sixth, seventh,

and eighth claims in her First Amended Complaint (Docket #37), arising

                                Page 31 of 32
 Case 2:14-cv-00330-JPS Filed 02/15/17 Page 31 of 32 Document 60
under the Wisconsin Mental Health Act, be and the same are hereby

DISMISSED without prejudice; and

     IT IS FURTHER ORDERED that this action be and the same is hereby

DISMISSED.

     The Clerk of the Court is directed to enter judgment accordingly.

     Dated at Milwaukee, Wisconsin, this 15th day of February, 2017.

                                BY THE COURT:




                                J.P. Stadtmueller
                                U.S. District Judge




                             Page 32 of 32
Case 2:14-cv-00330-JPS Filed 02/15/17 Page 32 of 32 Document 60
